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3WESTERN DISTRICT 0F TENNESSEE 113 I‘ 13 PH 3: l

UNI§ED STAT§S 0§ AMERICA . ,
cR. No 02-20052-1)
VS.

‘q-f\-/\_I\_/\-/

RODNEY DUNLAP

 

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE _`Un‘_i§IDUM§
Camille R. McMullen. AUSA applies to the Court for a Writ to have Rodney ull`nlag #ISLZZ-

m now being detained in the FCI-Mem his, appear before Hon. Jon P. McCalla"";ii'§§lBi_;_§`May.-,

 

2005 at 3:30 p.m. for an Re-Sentencing and for such other appearances as this court m ..

\I

direct.

Respectruuy submitted this is¢h day or May, 2005@77

CAMILLEiz°. MCMULILEN
Assistant U. S. Attorney

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Upon consideration of the foregoing Application,
DAVID JOLLEY, U . S . MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS , TN
SHERIFF/wARDEN, Mark Luttrell

YOU ARE HEREBY COMMANDED to have Rodnev Dunlan. #18222-076 appear before the

Honorable Judge McCalla at the date and time aforementionedl

ENTERED this id ft day of 2? 2,&3 , 2005.
S§:_

UNITED STATES MAGISTRATE JUDGE

 

This doeLment entered on the docket sheet In compliance

with me 55 and!or sam mch on w

' d zn.¢;,UNlTED STATES DISTRICT COURT :1;~*`“ M, _ _

 

 
 

UNITED s…ATEisTIC COURT - WESERNT D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy oi` the document docketed as number 71 in
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Randall P. Salky

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Honorable J on McCalla
US DISTRICT COURT

